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UNITED STATES DISTRICT COURT FOR
THE NORTHERN DISTRICT OF ILLINOIS EASTERN
DIVISION

MARKEL AMERICAN INSURANCE
COMPANY

Plaintiff,

Case No. 24-cv-10682

SANFORD SCHMIDT: SCHMIDT Cook County Case No. 2024CH09499

ADVISORY SERVICES, INC., d/b/a
CATALYST WEALTH MANAGEMENT,
an Illinois corporation; SCHMIDT
FINANCIAL GROUP, LLC, an Illinois
limited liability company;
CHRISTOPHER LORENZEN; CBL
INVESTMENTS, LLC; DIANE
FOWLER; and JAMES P. MURAFF,

Defendants.

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NOTICE OF REMOVAL

Defendant DIANE FOWLER (“Fowler”), by her undersigned counsel, hereby gives notice
of the removal of this action, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, to the United States
District Court for the Northern District of Illinois (“Notice of Removal”). This Court has subject
matter jurisdiction over this action based on diversity of citizenship. 28 U.S.C. § 1332(a)(1). As
grounds for removal, Fowler states as follows:

I. BACKGROUND

L On August 9, 2024, plaintiff Markel American Insurance Company (“MAIC”) filed
this same action in the Northern District of Illinois (Case No. 24-cv-7052). MIAC gave up that
action when faced with both a failed attempt at intervention in another State Court Action wherein

MAIC admitted “ “Intervention is the sole way that MAIC can protect its interest regarding the
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claimed $60,000,000 award” and a Motion to Dismiss in this Court seeking to compel arbitration
and noting the infirmities in the coverage analysis.

ae MAIC tried again the day after the voluntarily dismissal with same the action and
refiled it in State Court in hopes of intervening in the same case it failed to defend (State Court
Complaint attached hereto, hereinafter “Cmplt.”).

3. This is an insurance coverage dispute between completely diverse parties, as was
its prior iteration, 24-cv-7052.

4. Solely for purposes of this Notice of Removal, Fowler relies on MAIC’s
allegations, as set forth in the Compliant to satisfy the requirements of removal under 28 U.S.C.
§§ 1332, 1441, and 1446.

Il. REMOVAL IS TIMELY UNDER 28 U.S.C. § 1446(b)

5. No one has been served with the Complaint. No Summons have been issued.

6. Pursuant to 28 U.S.C. § 1446(b)(1), a notice of removal shall be filed within 30
days after the defendant is served.

7. Accordingly, removal is timely.

lil. THIS COURT HAS JURISDICTION UNDER 28 U.S.C. § 1332(a)
8. This court has subject matter jurisdiction over all cases where the amount in controversy
exceeds $75,000 and is between “citizens of different States.” 28 U.S.C. § 1332(a).
A. The Amount in Controversy Exceeds $75,000
9. In the Complaint, Markel alleges over $60,000,000 is at issue.
10. Accordingly, the amount in controversy requirement for diversity jurisdiction is

satisfied in this case because it is clear from the face of the Complaint that the “matter in
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controversy exceeds the sum or value of $75,000, exclusive of interest and costs,” as required
under 28 U.S.C § 1332(a).
B. There Is Complete Diversity of Citizenship
11. Because the Plaintiff is a citizen of Virginia and defendants are citizens of Illinois,
and Defendants are not citizens of Illinois and Oklahoma, there is complete diversity of citizenship
under 28 U.S.C. § 1332(a)(1). (Cmplt. {§ 4-12)
12. Accordingly, there is complete diversity. 28 U.S.C. § 1332(a).
IV. FOWLER SATISFIES THE PROCEDURAL REQUIREMENTS FOR REMOVAL
A. Venue Is Proper
14. This action is properly removed to this Court because the Circuit Court of Cook County,
Illinois is located within the Northern District of Illinois. See 28 U.S.C. §§ 93(a), 1446(a).
B. State Court File
15. Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process, pleadings,
orders, and documents in the State Court Action are attached hereto as follows:
e Exhibit A: Docket from the State Court Action;
e Exhibit B: Complaint from the State Court Action;
e Exhibit C: Appearance from the State Court Action.
To Fowler’s knowledge, no other documents or pleadings were filed in the State Court Action.
C. Written Notice of Removal
16. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served upon

counsel for MIAC. A copy of this Notice of Removal also is being filed in the State Court Action.
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D. Consent of All Defendants
17. Pursuant to 28 U.S.C. § 1446(b)(2)(A), “[w]hen a civil action is removed solely under
section 1441(a), all defendants who have been properly joined and served must join in or consent
to the removal of the action.” In this case no other Defendants have been served or joined.
V. CONCLUSION
18. Fowler reserves her right to amend or supplement this Notice of Removal.
WHEREFORE, defendant DIANE FOWLER respectfully removes this action form the
Cook County Circuit Court to this Court.

October 17, 2024 Respectfully submitted,
DIANE FOWLER
Defendant

By: _ /s/Alexander N. Loftus
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CERTIFICATE OF SERVICE

I, Alexander N. Loftus, an attorney, hereby certify that on October 17, 2024, I caused a
true and correct copy of the foregoing document to be served via email and first class mail upon
the following:

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